 Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 1 of 20 PageID# 8365



                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

      Plaintiffs,                         Case No. 1:18-cv-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

      Defendants.



      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO PRECLUDE
           CERTAIN EXPERT TESTIMONY BY DR. LYNNE WEBER
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 2 of 20 PageID# 8366



                                                    TABLE OF CONTENTS


 TABLE OF AUTHORITIES ......................................................................................................... ii

 INTRODUCTION ...........................................................................................................................1

 BACKGROUND .............................................................................................................................2

 ARGUMENT ...................................................................................................................................4

      I.         LEGAL STANDARD....................................................................................................4

      II.        COX IS ESTOPPED FROM USING DR. WEBER’S TESTIMONY TO
                 RELITIGATE ISSUES ALREADY DECIDED AGAINST IT ....................................5

      III.       DR. WEBER’S PROPOSED TESTIMONY CONCERNING THE
                 “EFFECTIVENESS” OF COX’S POLICY WILL NOT ASSIST THE JURY ............7

      IV.        DR. WEBER’S OPINION ON “EFFECTIVENESS” IS NOT A REBUTTAL
                 REPORT ......................................................................................................................10

      V.         DR. WEBER’S PROPOSED TESTIMONY CONCERNING THE
                 “EFFECTIVENESS” OF COX’S POLICY IS UNRELIABLE ..................................11

      VI.        DR. WEBER CANNOT BE USED AS A VEHICLE FOR INADMISSIBLE AND
                 IRREVLEVANT HEARSAY......................................................................................15

 CONCLUSION ..............................................................................................................................16




                                                                       i
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 3 of 20 PageID# 8367



                                                TABLE OF AUTHORITIES


 Cases

 Alevromagiros v. Hechinger Co., 993 F.2d 417 (4th Cir. 1993) ..................................................14

 BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293 (4th Cir. 2018) ...........2, 5, 6

 BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634
   (E.D. Va. 2015) .................................................................................................................2, 5, 6

 Capital Concepts, Inc. v. Mountain Corp., 936 F. Supp. 2d 661 (W.D. Va. 2013) ......................15

 Cooper v. Smith & Nephew, Inc., 259 F.3d 194 (4th Cir. 2001) ..............................................5, 11

 Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993) ..............................................5, 11, 14

 Gen. Elec. Co. v. Joiner, 522 U.S. 136 (1997) .............................................................................14

 Gilbert v. Gulf Oil Corp., 175 F.2d 705 (4th Cir. 1949) ...............................................................14

 In re Microsoft Corp. Antitrust Litig., 355 F.3d 322 (4th Cir. 2004) ..............................................5

 In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531 (S.D.N.Y. 2004) .......................................8

 Keystone Transp. Sols., LLC v. Nw. Hardwoods, Inc.,
    No. 5:18-cv-00039, 2019 WL 1756292 (W.D. Va. Apr. 19, 2019) ...................................... 8-9

 Kidder, Peabody & Co. v. IAG Int’l Acceptance Grp. N.V.,
    14 F. Supp. 2d 391 (S.D.N.Y. 1998) .................................................................................... 7-8

 Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999) ..................................................................11

 Pugh v. Louisville Ladder, Inc., 361 F. App’x 448 (4th Cir. 2010) ..............................................14

 Sedlack v. Braswell Servs. Grp., Inc., 134 F.3d 219 (4th Cir. 1998) ...............................................5

 R.F.M.A.S., Inc. v. Mimi SO, 748 F. Supp. 2d 244 (S.D.N.Y. 2010) ............................................12

 United States v. Barile, 286 F.3d 749 (4th Cir. 2002) ....................................................................7

 United States v. Offill, 666 F.3d 168 (4th Cir. 2011). ..................................................................5, 7

 United States v. Tsoa, No. 1:13CR137, 2013 WL 6145664 (E.D. Va. Nov. 20, 2013) .................9




                                                                     ii
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 4 of 20 PageID# 8368



                                                TABLE OF AUTHORITIES
                                                             (Continued)


 Viterbo v. Dow Chem. Co., 826 F.2d 420 (5th Cir. 1987) ............................................................14

 Westberry v. Gislaved Gummi AB, 178 F.3d 257 (4th Cir. 1999) ..............................................5, 7

 Woods v. Lecureux, 110 F.3d 1215 (6th Cir. 1997) ........................................................................7

 Zuckerman v. Wal-Mart Stores E., L.P., 611 F. App’x 138 (4th Cir. 2015) .................................14


 Rules

 Fed. R. Evid. 702 ..............................................................................................................4, 5, 7, 14




                                                                     iii
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 5 of 20 PageID# 8369




                                         INTRODUCTION

        Cox’s trial strategy is to parade out a cadre of expert witnesses to distract, sow confusion,

 and offer opinions untethered to the facts. Its objective is to hide behind experts with extensive

 resumes, who will tell the jury what to think and how to decide the case. This motion addresses

 the improper testimony of Cox’s proposed expert, Dr. Lynne Weber.

        Dr. Weber proposes to provide rebuttal testimony that Cox’s policy for addressing repeat

 infringement was “effective” in reducing the number of subsequent copyright infringement

 notices for those subscribers. This testimony is problematic for several reasons. First, Cox is

 collaterally estopped from using Dr. Weber’s testimony to relitigate issues already decided

 against it in a prior proceeding. Second, her opinion amounts to classic ipse dixit. It is a blatant

 attempt at jury nullification. Third, her opinion is not rebuttal. Dr. Weber admits that Plaintiffs’

 experts did not do an “effectiveness” analysis. Fourth, Dr. Weber repeatedly opines on causation

 but her analysis lacks any of the intellectual rigor an expert must apply in testing for or

 determining causation.

        Cox is secondarily liable for its continued provision of Internet service to specific known

 repeat infringers and the financial benefits it received from the infringing activity. The alleged

 “effectiveness” of Cox’s policy is not an element of any of the claims or affirmative defenses in

 the case. By anointing Cox’s graduated response policy as “effective,” Dr. Weber essentially

 tells the jury that Cox was justified in how it proceeded. This seal of approval improperly usurps

 the role of the judge as to the law and the role of the jury in applying the law to the facts. The

 jury is more than capable of resolving the factual issues in the case without the confusing,

 misleading, and irrelevant testimony of Dr. Weber.

        Cox’s attempt to use Dr. Weber in this manner also is estopped by this Court’s and the

 Fourth Circuit’s determination that Cox’s policy concerning repeat infringers was a sham and not



                                                   1
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 6 of 20 PageID# 8370



 reasonably implemented. See BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F.

 Supp. 3d 634, 655-62 (E.D. Va. 2015), aff’d in relevant part, 881 F.3d 293 (4th Cir. 2018). Cox

 cannot relitigate those issues. In particular, Cox cannot argue that its response to infringement

 notices was effective when this Court made binding findings to the contrary.

                                          BACKGROUND

        Dr. Weber is a paid professional expert at a consulting firm, has a master’s degree in

 statistics, and claims to have expertise in market analysis, market research, market modeling, and

 quantitative analysis. Gould Ex. 1, ¶¶ 5-11 (Rebuttal Expert Report of Lynne J. Weber, Ph.D.,

 dated May 15, 2019 (“Weber Rept.”)). She claims to know how to use control groups, conduct

 research and consumer surveys, and assess consumer behavior by moderating focus groups and

 interviewing consumers. See id. ¶ 6; Gould Ex. 2, 32:24-33:1 (Deposition Transcript of Lynne J.

 Weber, Ph.D., dated June 7, 2019 (“Weber Tr.”)). Yet she did none of that here. Dr. Weber did

 not use any of those tools to undertake her analysis on the “effectiveness” of Cox’s policy in

 addressing repeat infringement by Cox subscribers. See Gould Ex. 2, 31:16-33:6, 35:21-24,

 50:19-24 (Weber Tr.).

        Dr. Weber seeks to testify that Cox’s response to receiving notices of copyright

 infringement was “effective, both overall and for the vast majority of single family residential

 and of commercial accounts.” See, e.g., Gould Ex. 1, ¶ 133 (Weber Rept.). Dr. Weber opines

 that, for some percentage of accused accounts, each of the actions taken by Cox in response to

 receiving RIAA notices or tickets1 had a “substantial effect” on the occurrence of additional

 notices or tickets. See, e.g., id. ¶¶ 74, 92, 137. For example, she states that




 1
  A “ticket” is generated after Cox receives a notice of copyright infringement from RIAA or
 other copyright holder. See Gould Ex. 1, ¶ 14 (Weber Rept.). This motion applies to
 Dr. Weber’s analyses of both notices and tickets.


                                                   2
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 7 of 20 PageID# 8371




                 Id. ¶ 74. Without regard to what Cox actually did or did not do in response to

 those notices, Dr. Weber observes that a percentage of accounts received no additional notices,

 such that Cox’s response was overall “effective.” Id. ¶ 77.

         Dr. Weber ignores that Cox implemented its policies to artificially reduce the number of

 notices it could receive, including by imposing caps on the number of notices per day per rights

 owner and by refusing to accept any notices from certain entities such as Rightscorp. See id.

 ¶ 75. Moreover, Dr. Weber opines on the impact of Cox’s policy without using a control group.

 See Gould Ex. 2, 50:19-24 (Weber Tr.). According to Dr. Weber, “it wasn’t necessary.” Id.

         Dr. Weber’s Report centers on Cox’s effectiveness, but the Report itself does not define

 the term. In her deposition, Dr. Weber testified that the “definition of ‘effectiveness’ as it’s used

 in the report means whether or not or for what percentage of accounts, after Cox actions or

 inactions, additional notices or tickets, depending on the analysis, are no longer received within

 the timeframe of that analysis.” Id. 115:1-6. The Court need examine no further than that

 tortured construct to preclude Weber’s testimony, though her opinion becomes even more

 difficult for her to articulate, let alone for a jury to follow and benefit from:

             •   Effectiveness “has a different scope of notice, notice versus tickets, or it has a
                 different time frame.” Id. 115:7-11.

             •   “I’m not opining on infringement for which there is no accusation, assertion, nor
                 evidence. I’m only opining on what the data shows for notices by RIAA and/or
                 tickets, depending on the analysis.” Id. 122:2-10.

             •   “I’m opining—my opinion is that at each—at each step, at each notice that—from
                 the RIAA—RIAA that was received from plaintiffs, there is some effect of the
                 Cox response to that RIAA notice. But I’m not opining—so there was some
                 effect, is what’s opining, sort of notice by—when I’m opining about notice by
                 notice. But the overall effectiveness is about the response—it is about, after—you
                 know, after a certain number of responses by Cox, there are no additional RIAA
                 notices in the case of this analysis that we’re talking about now. So that’s—that's
                 the opinion about the overall effectiveness, the—being effective, overall, for the
                 vast majority of single-family residential or commercial accounts. There is also


                                                    3
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 8 of 20 PageID# 8372



                an opinion that each—for each additional notice that—for the first or each
                additional notice that Cox received, there is some effect on the generation of
                additional notices for that account that we can see for each step. But I’m not
                opining that each step is effective, just that each step has some effect, and the
                cumulative effect of Cox’s response is effective for the vast majority of
                accounts.” Id. 137:3-138:4.

            •   Effectiveness is “a yes or no; it’s not a percentage. And the opinion is that that
                effectiveness—meaning, no additional notices that we observe in the data from
                RIAA—that effectiveness is true for the vast majority of the single-family
                residential and commercial accounts.” Id. 144:13-145:1.

        While Dr. Weber concludes that Cox’s response was effective, she refuses to identify the

 reason it was effective. When asked what percentage she would conclude that Cox’s policy was

 no longer effective, Dr. Weber responded: “I don’t have an opinion about a sharp dividing line—

 effective, not effective.” Id. 141:19-22. Similarly, while Dr. Weber makes an “affirmative

 judgment” of “effective,” she is unable (or unwilling) to make the same judgment as to whether

 Cox’s policy was “ineffective.” See id. 156:13-17. Dr. Weber cannot say whether Cox’s

 response was ineffective for any account (id. 112:7-14), even for those accounts that received 13

 or more notices (id. 155:25-156:10).

        Dr. Weber opines that the data on the number of notices has “some relationship to

 whether or not—the likelihood of whether or not a—an account continued to infringe.” Id.

 127:2-6. But her report does not quantify that relationship or the likelihood of a subscriber

 stopping the use of a peer-to-peer network to infringe based on the absence of another notice.

 See id. 206:2-14. Nor does she opine on whether any specific subscriber stopped infringing in

 response to any action by Cox. See id. 206:23-207:14.

                                           ARGUMENT

 I.     LEGAL STANDARD

        Federal Rule of Evidence 702 governs the admissibility of expert testimony. Under Rule

 702, scientific, technical, or other specialized knowledge may be presented to the jury by an



                                                  4
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 9 of 20 PageID# 8373



 expert witness if: (1) it is potentially helpful to the jury; (2) it is based on sufficient facts or data;

 (3) it is the product of reliable principles and methods; and (4) the testimony is applied to the

 facts of the case. Fed. R. Evid. 702. The “touchstone of the rule is whether the testimony will

 assist the jury.” United States v. Offill, 666 F.3d 168, 175 (4th Cir. 2011).

         Trial courts act as gatekeepers to ensure that expert testimony is reliable and relevant.

 See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993). The Court must determine

 if the “reasoning or methodology underlying the expert’s proffered opinion is reliable” and

 “whether the opinion is relevant to the facts at issue.” See Westberry v. Gislaved Gummi AB,

 178 F.3d 257, 260 (4th Cir. 1999).

         The burden is on the party proffering the expert to prove by a preponderance of the

 evidence that the expert’s testimony is admissible and that the requirements of the Federal Rules

 of Evidence are satisfied. See Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir.

 2001); Daubert, 509 U.S. at 592 n.10.

 II.     COX IS ESTOPPED FROM USING DR. WEBER’S TESTIMONY TO
         RELITIGATE ISSUES ALREADY DECIDED AGAINST IT

         “Collateral estoppel forecloses the relitigation of issues of fact or law that are identical to

 issues which have been actually determined and necessarily decided in prior litigation in which

 the party against whom [issue preclusion] is asserted had a full and fair opportunity to litigate.”

 Sedlack v. Braswell Servs. Grp., Inc., 134 F.3d 219, 224 (4th Cir. 1998) (internal quotation

 marks omitted). The facts that underpin this Court’s summary judgment decision against Cox in

 BMG involve Cox’s own behavior and satisfy the elements for collateral estoppel to apply. See

 In re Microsoft Corp. Antitrust Litig., 355 F.3d 322, 326 (4th Cir. 2004).

         In BMG, this Court already determined, and the Fourth Circuit affirmed, that Cox did not

 reasonably implement a repeat infringement policy. See BMG, 149 F. Supp. 3d at 655-62; BMG,

 881 F.3d at 303-05. This Court found that “Cox employees followed an unwritten policy put in


                                                     5
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 10 of 20 PageID# 8374



 place by senior members of Cox’s abuse group by which accounts used to repeatedly infringe

 copyrights would be nominally terminated, only to be reactivated upon request.” BMG, 149 F.

 Supp. 3d at 655-56. The emails in the BMG record “strip[ped] Cox of any innocence” and made

 “clear” that Cox’s repeat infringer policy on the books was an “absolute mirage” given how Cox

 acted. Id. at 658. The Fourth Circuit further explained that “Cox created only a very limited

 automated system to process notifications of alleged infringement” and that, “in carrying out its

 thirteen-strike process, Cox very clearly determined not to terminate subscribers who in fact

 repeatedly violated the policy.” BMG, 881 F.3d at 299, 303. “Cox formally adopted a repeat

 infringer ‘policy,’ but, both before and after September 2012, made every effort to avoid

 reasonably implementing that policy.” Id. at 303.

        In addition, this Court in BMG precluded Cox’s putative expert, William Rosenblatt,

 from opining on topics identical to those proffered by Dr. Weber. Specifically, the Court

 precluded Mr. Rosenblatt’s testimony that Cox’s procedures were effective at curbing

 infringement. See Gould Ex. 3, ¶ 9 (BMG, No. 1:14-cv-1611, ECF No. 691, Order).2

        Cox previously litigated and lost when the Court and the Fourth Circuit rejected its

 DMCA defense. Cox cannot now proffer Dr. Weber’s opinion inconsistent with the findings

 underlying the Court’s judgment. This is basic collateral estoppel. Cox is not entitled to a

 second bite at the apple.




 2
  Plaintiffs have not had the opportunity to review Mr. Rosenblatt’s report; Cox refused to
 produce it. But the briefing indicates that Mr. Rosenblatt performed an analysis on
 “effectiveness” similar to Dr. Weber. See Gould Ex. 4, at 7-11 (ECF No. 450, Plaintiffs’
 Memo.); Gould Ex. 5, at 24-27 (ECF No. 597, Cox’s Opp.); Gould Ex. 6, at 4-6 (ECF No. 646,
 Plaintiffs’ Reply).

                                                 6
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 11 of 20 PageID# 8375



 III.    DR. WEBER’S PROPOSED TESTIMONY CONCERNING THE
         “EFFECTIVENESS” OF COX’S POLICY WILL NOT ASSIST THE JURY

         Dr. Weber offers opinions that will not “help the trier of fact to understand the evidence

 or to determine a fact in issue.” See Fed. R. Evid. 702(a). “[T]estimony offering nothing more

 than a legal conclusion—i.e., testimony that does little more than tell the jury what result to

 reach—is properly excluded under the Rules.” United States v. Barile, 286 F.3d 749, 760 (4th

 Cir. 2002) (quoting Woods v. Lecureux, 110 F.3d 1215, 1220 (6th Cir. 1997)); see also

 Offill, 666 F.3d at 175 (“[I]t does not help the jury for an expert to give testimony that states a

 legal standard or draws a legal conclusion by applying law to the facts, because it supplies the

 jury with no information other than the witness’s view of how the verdict should be read.”

 (internal quotation marks and citations omitted)). Here, Dr. Weber’s opinion “has a greater

 potential to mislead than to enlighten” and thus should be excluded. See Westberry, 178 F.3d at

 261.

         The plain purpose of Dr. Weber’s opinion is to invite the jury to nullify the law and to

 ignore the standards for determining liability and damages. Effectiveness is not an element of

 any claim in suit. Her opinion that Cox’s response to receiving notices of infringement was

 “effective” is put forward merely to convey an expert’s seal of approval and persuade the jury

 that Cox’s conduct was justified or proper. This opinion impermissibly supplants ultimate legal

 issues that are entrusted to the jury.

         The risk of jury nullification here is high. The jury, not an expert, should decide the

 ultimate issues. But Dr. Weber’s opinions invite the jury to cast aside all facts relevant to the

 issues in the case and the relevant legal standards. There is no significant distinction between

 Dr. Weber’s opinions on “effectiveness” and opinions on whether Cox acted willfully, knew of

 ongoing infringement, and/or failed to act sufficiently to stop or limit the infringement. See

 Kidder, Peabody & Co. v. IAG Int’l Acceptance Grp. N.V., 14 F. Supp. 2d 391, 398, 403-44


                                                   7
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 12 of 20 PageID# 8376



 (S.D.N.Y. 1998) (excluding expert report on reasonableness of plaintiff’s conduct where it was

 “functional equivalent” of opinion that plaintiff did not act with malice and told jury what result

 to reach on ultimate issue).

        Indeed, Dr. Weber opines that, based on her analysis, terminating accounts of repeat

 infringers after a first offense is “unnecessary” because it causes “consumer confusion and

 customer dissatisfaction.” Gould Ex. 1, ¶¶ 78, 134 (Weber Rept.). Dr. Weber opines that “Cox’s

 policy of waiting for a second offense to take a customer-facing action . . .



                                                                        Id. ¶ 109. Cox no doubt

 hopes that Dr. Weber’s ipse dixit blessing of Cox’s graduated response as “effective” will lead a

 jury to ignore the fact that Cox chose to put its pecuniary interests over terminating specific

 subscribers for whom Cox received notice after notice but failed to terminate. The natural—but

 improper—implication from Dr. Weber’s opinion is that Cox’s policy works to stop

 infringement and that Cox can avoid liability or pay less damages.

        Dr. Weber’s opinion does not assist the jury. As discussed supra, Dr. Weber did not

 employ any scientific principles or methodology to arrive at her conclusion. She has no prior

 experience in studying the effectiveness of an ISP policy on copyright infringement. See Gould

 Ex. 2, 42:4-22 (Weber Tr.). She did not conduct any research surveys, consumer surveys, or

 focus groups. See id. 31:16-33:6. Nor did she speak with any Cox subscribers about their

 infringing conduct. See id. at 35:21-24. At bottom, Dr. Weber has no “specialized knowledge or

 expertise that would be helpful in resolving the issues of fact presented by the lawsuit.” See In

 re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 538 (S.D.N.Y. 2004), quoted in Keystone

 Transp. Sols., LLC v. Nw. Hardwoods, Inc., No. 5:18-cv-00039, 2019 WL 1756292, at *7 (W.D.




                                                  8
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 13 of 20 PageID# 8377



 Va. Apr. 19, 2019). Her role is simply to “argue [Cox’s] cause from the witness stand” and “to

 tell the jury what to think”—neither of which is proper for expert testimony. See id.

        Further, what Dr. Weber proffers to tell the jury is directed to “lay matters which a jury is

 capable of understanding and deciding without the expert’s help.” See United States v. Tsoa, No.

 1:13CR137, 2013 WL 6145664, at *8 (E.D. Va. Nov. 20, 2013). Dr. Weber’s report presents

 various calculations on the percentage of accused accounts at each step in Cox’s policy for which

 no additional notices or tickets occurred. See, e.g., Gould Ex. 1, ¶¶ 74, 92 (Weber Rept.). For

 example, Dr. Weber opines that



                     Id. ¶ 74 & Ex. C-15. Dr. Weber’s testimony as to the data and her

 calculations to make it more accessible to the jury is one thing. Her testimony as to the effect of

 Cox’s action on the absence of notices is another thing entirely. The latter does not aid the jury

 in any way. Dr. Weber merely looked at her calculations, saw that for some percentage of

 accounts Cox received no further notices, and did nothing more to determine that Cox’s policy

 was “effective” than simply declare it so. See, e.g., id. ¶¶ 74-77 (Weber Rept.); Gould Ex. 2,

 115:1-6 (Weber Tr.). Certainly, the jury is capable of doing that itself.

        Dr. Weber’s report would overwhelm and confuse the jury with mystifying statistics and

 incomprehensible concepts. See, e.g., Gould Ex. 1, ¶¶ 43-74 (Weber Rept.); Gould Ex. 2, 115:1-

 6, 122:2-10, 137:4-138:4, 143:24-145:1 (Weber Tr.). Further, Dr. Weber’s report stops short of

 providing an opinion on the effect of Cox’s policy on what really matters: stopping subscriber

 infringement. In her deposition, Dr. Weber referred to a relationship between the absence of

 notices and whether a particular subscriber continued to use a peer-to-peer network to infringe.

 See Gould Ex. 2, 127:2-6 (Weber Tr.). But Dr. Weber did not measure the likelihood that the




                                                  9
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 14 of 20 PageID# 8378



 absence of additional notices meant that a subscriber had stopped infringing or opine on actual

 subscriber infringement. See id. 35:21-24, 126:10-127:14, 206:2-14.

        Finally, Dr. Weber’s opinion is unhelpful because it contains improper factual argument.

 Dr. Weber opines that Plaintiffs self-imposed a constraint on the number of notices below the

 limit to which Cox had agreed. See Gould Ex. 1, ¶¶ 113-122, 139 (Weber Rept.). She also

 opines on a price that RIAA paid per notice. See id. ¶¶ 120-121, 139. But it is a jury, not

 Dr. Weber, that is supposed to decide the facts. Dr. Weber’s arguments would confuse and

 mislead the jury and usurp its role.

        Dr. Weber’s opinion on “effectiveness” goes beyond the bounds of permissible expert

 testimony and will not assist the jury. Her opinion should be excluded.


 IV.    DR. WEBER’S OPINION ON “EFFECTIVENESS” IS NOT A REBUTTAL
        REPORT

        Dr. Weber’s “effectiveness” analysis as contained in sections 4.2-4.4 of her report

 purports to respond to the reports of Dr. McGarty and Professor McCabe. See, e.g., Gould Ex. 1,

 ¶¶ 40-41, 83-84 (Weber Rept.). But Dr. Weber’s “effectiveness” analysis is not a rebuttal to

 either report. As Dr. Weber acknowledged, neither the McGarty report nor the McCabe report

 opined on the efficacy of Cox’s graduated response policy. See Gould Ex. 2, 197:12-25 (Weber

 Tr.).3 Dr. Weber must not be allowed to offer affirmative testimony under the guise of rebuttal

 testimony.




 3
   By contrast, sections 4.1 and 4.6 of Dr. Weber’s report at least make an effort to critique the
 reports of Dr. McGarty and Professor McCabe. In those sections, Dr. Weber identifies alleged
 flaws or inaccuracies in their analyses of the data. See, e.g., Gould Ex. 1, ¶¶ 30-39, 123-131
 (Weber Rept.). Those sections are not the subject of this motion.

                                                 10
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 15 of 20 PageID# 8379



 V.     DR. WEBER’S PROPOSED TESTIMONY CONCERNING THE
        “EFFECTIVENESS” OF COX’S POLICY IS UNRELIABLE

        Rule 702 bars Dr. Weber’s opinions on the “effect” and “effectiveness” of Cox’s

 response to infringement notices or Cox’s infringement policy. In determining the reliability of

 an expert’s testimony, a trial judge may consider several factors: “(1) whether a theory or

 technique can be or has been tested; (2) whether it has been subjected to peer review and

 publication; (3) whether a technique has a high known or potential rate of error and whether

 there are standards controlling its operation; and (4) whether the theory or technique enjoys

 general acceptance within a relevant scientific community.” Cooper, 259 F.3d at 199 (citing

 Daubert, 509 U.S. at 592-94). The objective of Daubert’s gatekeeping requirement is to ensure

 that an expert “employs in the courtroom the same level of intellectual rigor that characterizes

 the practice of an expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137,

 152 (1999). Dr. Weber’s report and proposed testimony fail the basic requirements of Daubert

 and Kumho.

        Absent from Dr. Weber’s analysis is a standard or generally accepted technique used to

 determine “effectiveness.” See Cooper, 259 F.3d at 199. Her definition of effectiveness is

 conclusory and convoluted. Without any explanation, she simply opines that the effect of each

 step of Cox’s policy on eliminating the number of subsequent notices is “substantial,” including

 when Cox does nothing. See, e.g., Gould Ex. 1, ¶¶ 74, 137 (Weber Rept.). Without reference to

 any scientific or technical literature, Dr. Weber defines “effectiveness” based on whether or not

 there is a percentage of accounts, after action or inaction by Cox, additional notices or tickets are

 no longer received. See Gould Ex. 2, 115:1-6, 116:14-117:1 (Weber Tr.). With this contrived

 definition, she, of course, observed an effect after each step in Cox’s policy. But her claim that

 there is “an effect” after each step is simply a statement that something did or did not happen

 after each notice. Further, she ascertains “effectiveness” on a “yes or no” basis but refuses to


                                                  11
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 16 of 20 PageID# 8380



 identify the line or point between an ISP being effective and not being effective, nor does she

 provide any opinion on the difference between “effective” and “ineffective” or whether Cox’s

 policy was ineffective for any subscribers. See id. 112:7-14, 141:19-22, 155:25-156:10.

        At the heart of Dr. Weber’s opinion on “effectiveness” are her conclusions on causation.

 She calculates the percentage of accused accounts at each step in Cox’s policy for which no

 additional notices or tickets occurred. See, e.g., Gould Ex. 1, ¶¶ 74, 92 (Weber Rept.). Because

 each step was followed by a reduction of additional notices for some percentage of those

 accounts, Dr. Weber attributes that reduction to Cox’s policy. She opines that, for certain

 percentages of accounts that received a certain number of notices, “given the action taken by Cox

 in response to” that number of notices, “there were no further [n]otices for that account.” See id.

 id. ¶ 74. Dr. Weber then leaps from these observations to conclude that each of the steps in

 Cox’s response “had some effect on the occurrence of additional [n]otices for the accused

 account,” that the effect was “substantial,” and that Cox’s policy was “effective.”4 See, e.g., id.

 ¶¶ 74-75, 77, 133, 137.

        Dr. Weber provides no basis, much less a methodology, to explain how she arrived at her

 conclusions. Although one would expect someone with Dr. Weber’s expertise to apply scientific

 principles and methods to test for a causal relationship between each step of Cox’s policy and the

 number of subsequent notices, critically absent from her analysis is a control group. Gould Ex.

 2, 50:19-24 (Weber Tr.). “It is plain that one cannot determine whether something caused an

 observed effect without controlling for other equally plausible causes of that effect.” R.F.M.A.S.,

 Inc. v. Mimi SO, 748 F. Supp. 2d 244, 273 (S.D.N.Y. 2010).



 4
   Dr. Weber testified that she “can’t say for sure there’s a causal connection between each of
 these steps.” Gould Ex. 2, 238:22-239:10 (Weber Tr.). But she has no qualms about providing
 an “affirmative judgment” on the “effect” and “effectiveness” of Cox’s policy. See, e.g., id.
 156:13-17; Gould Ex. 1, ¶¶ 74, 77, 133, 137 (Weber Rept.).

                                                  12
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 17 of 20 PageID# 8381



        Without a control group, Dr. Weber cannot distinguish between the natural ebbs and

 flows of notices, other factors affecting the receipt of notices, and the impact of Cox’s policy (if

 any). It is neither remarkable nor an indication of effectiveness that fewer accounts received

 more tickets when there are constraints on monitoring and reporting the illicit activity. A speed

 camera is not effective at reducing speeding simply because fewer people received two tickets

 than one. Some drivers may not live in the area, others may avoid the camera, and some may

 simply slow down in front of it or install a reflective license plate cover.

        Here too, numerous factors can explain the reduction of additional notices for some

 percentage of accounts. For example, continued infringement may have gone undetected. It

 may have been detected but not selected for reporting due to caps imposed by Cox on notices.

 Or, as Cox’s own computer science expert, Dr. Feamster, has explained, a subscriber may have

 left a BitTorrent swarm because she was successful in downloading all the music files she

 wanted. See Gould Ex. 7, ¶ 76 (Rebuttal Expert Report of Dr. Nick Feamster, Ph.D., dated May

 15, 2019) (stating that individuals “often leave the network immediately after they have retrieved

 the file of interest”). Dr. Weber acknowledges the existence of various factors that impacted the

 number of notices, such as “blacklisting of entities other than RIAA, daily limits on notices from

 RIAA and other entities, auto-closing the first complaint received, resets after six months, limits

 on the number of accounts suspended in a day, reactivations, etc.” See Gould Ex. 1, ¶ 75 (Weber

 Rept.). However, she failed to account for them.

        Remarkably, Dr. Weber’s own analysis demonstrates the existence of other potential

 causes of the absence of additional notices. Dr. Weber opines that,




            Id. ¶ 74. But Cox’s policy provided that it would ignore the first notice it received



                                                  13
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 18 of 20 PageID# 8382



 with respect to any particular user in a six-month period. See id. Ex. C-15 (Weber Rept.) (“Hold

 for further complaints” for “1st Offense, within a 6 month period”). Surely, factors other than

 Cox’s policy of ignoring the first notice caused the notices to cease. Cox thus cannot claim

 credit for the lack of additional notices for those accounts.

        By failing to consider and control for other plausible causes, Dr. Weber was not “in

 possession of such facts as would enable [her] to express a reasonably accurate conclusion as

 distinguished from a mere guess or conjecture.” See Gilbert v. Gulf Oil Corp., 175 F.2d 705,

 709 (4th Cir. 1949). Her opinions on causation thus are neither based on “sufficient facts or

 data” nor the “product of reliable principles or methods.” See Fed. R. Evid. 702.

        “[T]here is simply too great an analytical gap between the data and the opinion proffered”

 by Dr. Weber. See Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). “[N]othing in either

 Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence that

 is connected to existing data only by the ipse dixit of the expert.” Id.; see also Pugh v. Louisville

 Ladder, Inc., 361 F. App’x 448, 454 n.4 (4th Cir. 2010). Dr. Weber provides no explanation or

 principled basis as to how she arrived at her conclusions on causation and effectiveness. As

 such, Dr. Weber’s testimony boils down to speculation and improper say-so that has no place

 before a jury. See Zuckerman v. Wal-Mart Stores E., L.P., 611 F. App’x 138, 138 (4th Cir. 2015)

 (per curiam) (“Expert testimony rooted in ‘subjective belief or unsupported speculation’ does not

 suffice.” (quoting Daubert, 509 U.S. at 590)); Alevromagiros v. Hechinger Co., 993 F.2d 417,

 421 (4th Cir. 1993) (“[W]e are unprepared to agree that ‘it is so if an expert says it is so.’”

 (quoting Viterbo v. Dow Chem. Co., 826 F.2d 420, 421 (5th Cir. 1987)). The Court should thus

 exclude her opinion.




                                                   14
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 19 of 20 PageID# 8383



 VI.    DR. WEBER CANNOT BE USED AS A VEHICLE FOR INADMISSIBLE AND
        IRRELEVANT HEARSAY

        Dr. Weber’s proffered opinion on “effectiveness” purports to rely on Cox testimony and

 emails that are unsubstantiated hearsay. It is an improper end-run around the inadmissibility of

 that testimony and email.

        For example, Dr. Weber relies on the deposition testimony of Cox employee Matthew

 Carothers, who testified that                                                                See Gould

 Ex. 1, ¶ 95 (Weber Rept.). Yet there is no data to support the assertion. “An expert cannot

 simply parrot his client’s findings or calculations and then pass that data off as his own expert

 opinion.” Capital Concepts, Inc. v. Mountain Corp., 936 F. Supp. 2d 661, 672 (W.D. Va. 2013).

 Further, this Court previously precluded Cox from using such evidence. See Gould Ex. 3, ¶ 18

 (BMG, ECF No. 691, Order) (granting motion in limine to exclude Cox and its expert from using

 notice and warning statistics to argue that its graduated response is effective at curbing

 infringement). As with Dr. Weber’s analyses, this statistic cannot be used to show that Cox’s

 policy had any effect on reducing subscriber infringement.

        As another egregious example, Dr. Weber relies on the deposition testimony of two Cox

 employees and 20 emails (an admittedly “small sample”) that Cox received after sending an

 email warning to Cox customers after a second offense to opine that terminating customers

 without notice, or after a few number of warnings, is “unnecessary . . . compared to effective

 alternative measures” and also would “punish customers in some cases who are innocent and/or

 well-intentioned.” See Gould Ex. 1, ¶¶ 78-79, 109 (Weber Rept.). As discussed supra,

 Dr. Weber conducted no analysis to determine whether a subscriber was infringing nor any

 inquiry as to a subscriber’s behavior or intent. While Dr. Weber believes that her expertise in

 consumer behavior allows her to opine on whether a subscriber infringed or not based on the

 reading of a single email, her opinion that any subscriber was “innocent and/or well-intentioned”


                                                  15
Case 1:18-cv-00950-LO-JFA Document 294 Filed 08/30/19 Page 20 of 20 PageID# 8384



 is wholly without foundation. Certainly Dr. Weber should not be permitted to speak to the

 relative culpability of Cox subscribers based on her simple review of emails.

        The testimony and documents relied upon by Dr. Weber lack any foundation and are not

 relevant. Cox cannot use Dr. Weber as a vehicle for inadmissible and irrelevant hearsay, and her

 opinion relying on such hearsay should be excluded.


                                         CONCLUSION

        For the reasons discussed above, Plaintiffs respectfully request that the Court preclude

 the improper proffered testimony of Dr. Weber.



 Respectfully submitted,

 Dated August 30, 2019                                  /s/ Scott A. Zebrak
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                                                16
